                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  ST. JOSEPH DIVISION


RightCHOICE Managed Care, Inc., et al.,


               Plaintiffs,                               CIVIL ACTION NO.
v.                                                       5:18-CV-06037-DGK


Hospital Partners, Inc.; Hospital Laboratory
Partners, LLC; Empower H.I.S. LLC; LifeBrite
Laboratories, LLC; RAJ Enterprises of Central
Florida, LLC d/b/a Pinnacle Laboratory Services;
LabMed Services, LLC; SeroDynamics, LLC;
Lucenta Labs, LLC; David Byrns; Jorge Perez;
Christian Fletcher; James F. Porter, Jr.; Beau Gertz;
and Mark Blake,


               Defendants.




     PLAINTIFFS’ BRIEF REGARDING DISCOVERY DISPUTE WITH DEFENDANTS
       HOSPITAL PARTNERS, INC., EMPOWER H.I.S. LLC, AND JORGE PEREZ




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       Defendants used Putnam County Memorial Hospital (“Putnam”) as a shell through which

they billed Plaintiffs more than $70 million in fraudulent laboratory tests. Since Plaintiffs served

discovery requests on Defendants Hospital Partners, Inc., Empower H.I.S., LLC, and Jorge Perez

(collectively, the “Empower Defendants”) in October 2018, the Empower Defendants have

repeatedly failed to fulfill their discovery obligations. Initially, the Empower Defendants refused

to produce any documents. On February 1, 2019, the Court ordered that they “produce relevant

business records in their possession” within 14 days, and prepare a statement identifying the

steps taken to preserve discoverable information. (See Dkt. 171 at 10.) The Court warned that, if

the Empower Defendants’ conduct continued, “the Court will consider imposing sanctions.” (Id.)

       The Empower Defendants made their first production on February 15, 2019, but it is

patently incomplete (as detailed herein) and includes blanket confidentiality designations (not the

individualized designations required by the Protective Order). Moreover, the Empower

Defendants represented in verified discovery materials that all emails and documents relating to

Putnam were preserved and would continue to be. The Empower Defendants should produce all

relevant documents immediately and correct their existing confidentiality designations.

       The Empower Defendants have also refused to provide dates for their depositions, despite

repeated requests. Plaintiffs request the Court order their depositions as set forth herein.

       Finally, Plaintiffs are concerned that the Empower Defendants will soon be unrepresented

by counsel, preventing Plaintiffs from obtaining critical evidence. Plaintiffs request that the

Court extend the time for the Empower Defendants’ to retain local counsel before their counsel’s

appearance is terminated, and that the Empower Defendants provide their contact information to




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Plaintiffs before counsel withdraws. 1 (See Dkt. 193.)

                    THE PARTIES’ EFFORTS TO MEET AND CONFER

       The parties’ meet-and-confer efforts prior to the Court’s February 1, 2019 Order are

detailed in Plaintiffs’ January 21, 2019 brief. (See Dkts. 159, 160.) The Empower Defendants

made a production on February 15, 2019 and served amended responses and objections to

Plaintiffs’ Requests. (Pfeiffer Decl. ¶ 2.) Plaintiffs sent a deficiency letter on March 19, 2019.

(Id. Ex. 5.) The parties’ counsel have spoken via phone and email on several occasions since

then. (Id. ¶ 8.) On April 22, 2019, Plaintiffs sent a final email to the Empower Defendants,

outlining these issues and requesting the deficiencies be corrected. (Id. Ex. 6.) The Empower

Defendants’ counsel responded the next day (id. Ex. 7), but no issues were resolved. (Id. ¶ 10.)

                                 THE DISCOVERY DISPUTES

I.     Depositions of the Empower Defendants

       Plaintiffs have repeatedly requested—over a period of months—that the Empower

Defendants provide dates for their depositions, but have received no response. Rather than incur

the expense of scheduling and traveling to depositions that the Empower Defendants not appear

for, Plaintiffs respectfully request that the Court order that, within three days, the Empower

Defendants each provide Plaintiffs three dates for their deposition, with Perez’s deposition taking

place within 20 days of the Order and Empower H.I.S.’s and Hospital Partners’ depositions

taking place within 45 days of the Order. See, e.g., Ambrose v. City of White Plains, No. 10-cv-

4946 (CS)(LMS), 2016 U.S. Dist. LEXIS 143675, at *33 (S.D.N.Y. Oct. 13, 2016) (directing

litigants to provide three alternative dates for their depositions to be taken).


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  The parties did not have an opportunity to meet and confer regarding this issue. Plaintiffs raise
the issue given the substantial risk that—if not addressed—the Empower Defendants will remain
in violation of the Court’s February 1, 2019 Order and Plaintiffs will have no way to contact the
Empower Defendants on an ongoing basis.


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II.    The Empower Defendants’ Non-Production of Relevant Documents.

        On February 1, 2019, the Court ordered the Empower Defendants to produce all

documents responsive to Plaintiffs’ Requests within 14 days. (Dkt. 171.) To date, however, many

key categories of documents have not been produced, despite the Empower Defendants’ verified

statements attesting to their preservation. For example, the Empower Defendants have produced

only a handful of emails from a single custodian; almost no correspondence with their co-

defendants; no text or SMS messages; no communications between the Empower Defendants

and Putnam (e.g., why the Empower Defendants were qualified to manage Putnam and what

their vision was for turning it around); no documents relating to Empower H.I.S.’s billing of

claims to Plaintiffs; no documents relating to the Empower Defendants’ role in responding to the

Missouri State Auditor; no documents detailing the Empower Defendants’ role in responding to

Plaintiffs’ investigation of the claims at issue; and no documents detailing the amounts that the

Empower Defendants paid themselves and their co-defendants from Putnam’s coffers. These

should have been produced by February 15, 2019, and should be produced immediately.

        The Empower Defendants also have not produced the financial records requested by

Plaintiffs, which is essential to Plaintiffs’ ability to trace the funds at issue and, as such, to

demonstrate the equitable nature of the relief sought through their ERISA claim. See 28 U.S.C.

§ 1132(a)(3); see also UnitedHealth Grp., Inc. v. Dowdy, 8:06-cv-2111, 2007 U.S. Dist. LEXIS

80090, at *2 (M.D. Fla. Oct. 29, 2007) (granting motion to compel discovery of “account

information from [d]efendant’s financial institutions[] and income tax return data” because

“discovery regarding the location of the alleged overpayments . . . [is] critical to the plan

fiduciary’s ability to recover [them]”); Popowski v. Parrot, No. 1:04-cv-0889, 2007 U.S. Dist.

LEXIS 81077, at *4 (N.D. Ga. Oct. 31, 2007) (granting motion to compel discovery regarding

“what settlement money [defendant received and where that money is now,” including


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documents relating to financial institutions at which defendant kept subject funds). The missing

documents include bank statements, deposit detail, canceled checks, and wire transfers from the

Empower Defendants’ accounts that received funds from Putnam or any Defendant from

September 2016 to the present.

       The Empower Defendants stated in verified discovery that they were preserving—and

would continue to preserve—all documents relating to Putnam. 2 (See Pfeiffer Decl. Exs. 1-3.)

There is no reason the documents should not be produced immediately.

III.   The Blanket Designation of Documents as “Highly Confidential”

       The Protective Order requires that, in order to designate a document as “Confidential,”

“Highly Confidential,” or as containing “Protected Health Information,” the designation “shall

be made by stamping those documents with the appropriate designation.” (Dkt. 166 ¶ 2.) Instead,

the Empower Defendants requested via email that Plaintiffs treat every document they produced

as “Highly Confidential.” (Pfeiffer Decl. ¶ 4; id. Ex. 4.) They did not undertake any

individualized assessment, nor did they stamp the documents as is required by the Protective

Order, and the “Highly Confidential” designation prevents Plaintiffs’ counsel from even sharing

the documents with Plaintiffs. (See Dkt. 166 ¶ 9.) Excessive and undifferentiated confidentiality

designations complicate depositions, motion practice, and hearings unnecessarily. See, e.g.,

Minter v. Wells Fargo Bank, N.A., No. WMN-07-3442, 2010 U.S. Dist. LEXIS 136006, at *18

(D. Md. Dec. 23, 2010) (sanctioning defendants who “chose to purposefully and liberally over-



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  For example, Empower H.I.S. attested that, “upon becoming aware of this case, it did ensure
that all of the emails under its domain (www.empowerhis.com) (and also www.medxgroup.com)
and documents which were otherwise related to [Putnam], continued to be maintained in the
ordinary course, and that no such emails and documents were deleted or otherwise subject to
disposal. Virtually all of such documents were and are stored electronically, and are preserved
‘in the cloud;’ and will continue to be preserved as such.” (Id. Ex. 3 at 6.) Perez signed the
verifications. (Id. Ex. 1 at 7; Ex. 2 at 7; Ex. 3 at 7.)


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designate”); cf. Fed. R. Civ. P. 1. Plaintiffs therefore request that the Court order the Empower

Defendants to re-designate their documents within ten days, on an individualized basis, by

stamping the documents; if no such action is taken, the Court should strike the designations.

Plaintiffs will continue to treat Protected Health Information appropriately.

IV.    Local Counsel

       On April 10, 2019, the Court granted the Empower Defendants’ local counsel’s Motion

to Withdraw. (Dkt. 193.) The Empower Defendants’ remaining counsel has indicated that he,

too, will soon withdraw. (Pfeiffer Decl. Ex. 7.) Plaintiffs are concerned that the Empower

Defendants will thus soon be unrepresented by counsel, thereby effectively preventing Plaintiffs

from obtaining critical evidence. Plaintiffs therefore request that the Court extend the time for

the Empower Defendants to obtain local counsel, and that the Court require the Empower

Defendants to provide contact information to Plaintiffs before their counsel withdraws.

V.     Requested Relief

       Plaintiffs request that the Court order the Empower Defendants to: (1) within three days

of the Court’s Order, provide three dates each for the deposition of Perez (which shall be not

more than 20 days from the Court’s Order) and Hospital Partners and Empower H.I.S. (which

shall be not more than 45 days from the Court’s Order); (2) produce all relevant documents

requested by Plaintiffs, including account statements, canceled checks, deposit detail, and wire

transfer information for all accounts that received funds from Putnam or any defendant within

seven days; (3) provide individualized confidentiality designations within ten days or their

requested designations will be deemed waived; and (4) have an additional 30 days to retain local

counsel, and that before Mr. Smith withdraws, Plaintiffs be provided with the Empower

Defendants’ current residence addresses, mailing addresses, email addresses, and phone numbers.




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DATED: May 1, 2019             By:     /s/ Michael L. Jente     .

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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed electronically with the United States District

Court for the Western District of Missouri, through the Court’s CM/ECF system, on the 1st day

of May 2019, with notice of case activity sent to counsel of record.

                                                       /s/ Michael L. Jente




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